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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN

QUINCY M. NERI,

                           Plaintiff,               JUDGMENT IN A CIVIL CASE

      v.                                                     13-cv-382-bbc


SENTINEL INSURANCE COMPANY, LTD,
and ERIC FERGUSON DBA/ WHITE
SCHOOL STUDIOS,

                           Defendant.


      This action came for consideration before the court with District Judge Barbara
B. Crabb presiding. The issues have been considered and a decision has been
rendered.


      IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants denying plaintiff Quincy M. Neri leave to proceed in forma pauperis and

dismissing this case for failure to state a claim upon which relief may be granted.


           /s/                                                       8/2/2013
           Peter Oppeneer, Clerk of Court                             Date
